                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                             Plaintiff,
                                                                 Case No. 06-CR-63
              -vs-

DANNY L. IVERSON and
DEBRA M. TIMKO,

                             Defendants.


                                           ORDER


              The Court has received a Recommendation from Magistrate Judge Patricia J. Gorence

that Counts 14-17 of the indictment in the above-captioned case be dismissed without prejudice.

In addition, Magistrate Judge Gorence recommends that the defendant Debra M. Timko’s (“Timko”)

Motion to Dismiss Count 32 be denied.

              The Court has read the Recommendation and reviewed the record and adopts

Magistrate Judge Gorence’s Recommendation in toto.

              NOW, THEREFORE, BASED ON THE FOREGOING, IT IS HEREBY

ORDERED THAT:

              1.     Counts 14-17 of the Indictment are DISMISSED without prejudice.

              2.     Timko’s Motion to Dismiss Count 32 is DENIED.

              Dated at Milwaukee, Wisconsin, this 8th day of February, 2007.

                                                   SO ORDERED,

                                                   s/ Rudolph T. Randa
                                                   HON. RUDOLPH T. RANDA
                                                   Chief Judge


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